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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Ubiquiti Networks, Inc.
                                        Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 13, 2020:


        MINUTE entry before the Honorable Jeffrey Cummings: The Court schedules a
video settlement conference for 9/3/20 at 1:00 p.m. In advance of the settlement
conference, counsel for the parties will receive the instructions for participation in the
remote settlement conference and for participation in a brief pre−settlement conference
practice session with the Court's staff. Mailed notice (cc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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